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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                )
                                         )
                    Plaintiff,           )                 4:10CR3129
                                         )
             V.                          )
                                         )
JAMES P. MASAT,                          )                    ORDER
                                         )
                    Defendant.           )
                                         )


      Counsel for James P. Masat has requested that the court preserve all exhibits
introduced at the evidentiary hearings held in October 2012. That request will be
granted in part and denied in part. I understand that some of the exhibits have been
returned to the government. As for the defendant’s exhibits, the clerk advises me that
she has those exhibits notwithstanding the erroneous docket entry indicating that those
exhibits had been destroyed. Accordingly,

      IT IS ORDERED that:

      (1)    The response (filing 142) is granted in part and denied in part.

       (2) Until further order of the court, the clerk shall maintain the defendant’s
exhibits from the hearings held on October 3, 2012 and October 17, 2012. Otherwise,
the response is denied.

      DATED this 14th day of March, 2013.

                                        BY THE COURT:

                                        Richard G. Kopf
                                        Senior United States District Judge
